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UNiTED STATES DlSTR|CT COURT
WESTERN DlSTR|CT OF TENNESSEE
MEMPH|S DiVlS|ON

UN|TED STATES OF AMER|CA
-v- 2:050R20009-02-B

DARAY AMMON PERK|NS
Randolf W. Aiden, FPD
Defense Attorney
200 Jefferson Ave., Suite 200
Memphis, TN 38103

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 & 3 of the indictment on February 28, 2005.
According|y, the court has adjudicated that the defendant is guilty of the following offenses:

Date Count
Tit|e & Section Nature of Offense Offense Numbers
_QQM

21 U.S.C. § 846 Conspiracy to |Vlanufacture in Excess 08/29/2004 1

of 5 Grams of Nlethamphetamine
21 U.S.C. § 841 (a)(1) Possession with intent to Distribute in 08/29/2004 3
and Excess of 5 Grams of
18 U.S.C. § 2 Methamphetarnine and Aiding and

Abetting

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/landatory
Victims Restitution Act of 1996

Counts 2 & 4 dismissed on the motion of the United States.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of namel residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 7/12/1967 August 18, 2005
Deft’s U.S. lVlarshai No.: 20053-076

Defendant’s iVlailing Address:
49 Tony Street f
Atoi<a, TN 38004
J`. DANlEL BQEEN
U TED STATES DlSTR|CT JUDGE
August j ¥ , 2005

This document entered on the dockets set 'n ccmp|ian e
with Ruie 55 and/or 32(b) FHCrP on 3" o')vO §

 

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|MPRiSONMENT
The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 30 i\iionths1 as to each count, to be served
concurrentlyl

The Court recommends to the Bureau of Prisons:

- The 500 i-iour Drug Program.
- Piacement as close to iviemphis, Tennessee, as possible

The defendant shall surrender for service of sentence at the institution designated
by the Bureau of Prisons as notified by the United States Nlarshal.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES lViARSHAL
By:

 

Deputy U.S. lVlarsha|

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SUPERV|SED RELEASE

Upon release from imprisonmentr the defendant shall be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafterr as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD CONDITIONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission ofthe court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

12. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Pena|ties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1) Participate in substance abuse testing and treatment programs as directed by the Probation
Officer.

2) Cooperate in DNA collection as directed by the Probation Officer.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Totai Assessment Totai Fine Totai Restitution
$200.00

The Special Assessment shall be due immediately

F|NE
No fine imposed.

REST|TUT|ON
No Restitution was orderedl

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 79 in
case 2:05-CR-20009 Was distributed by faX, mail, or direct printing on
August 22, 2005 to the parties listed.

 

 

Scott F. Leary

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FEDERAL PUBLIC DEFENDER
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Honorable J. Breen
US DISTRICT COURT

